                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                     )
                                              )
          v.                                  )                       ORDER
                                              )
 LEONID ISAAKOVICH TEYF                       )


       Upon motion of Defendant, for good cause shown, it is hereby ORDERED that the

Proposed Sealed Motion filed at DE 590 and the proposed government exhibits attached thereto

be sealed until such time as the Court orders them unsealed.

       It is FURTHER ORDERED that the Clerk of Court make available to the parties filed

copies of the same.

       SO ORDERED.

       This the 10th day of August, 2020.




                                                    Louise W. Flanagan
                                                    United States District Judge




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